                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN




WILLIAM FEEHAN,

                            Plaintiff,                       CASE NO. 2:20-cv-1771
               v.

WISCONSIN ELECTIONS COMMISSION,
  and its members ANN S. JACOBS,
  MARK L. THOMSEN, MARGE
  BOSTELMAN, JULIE M. GLANCEY,
  DEAN KNUDSON, ROBERT F.
  SPINDELL, JR., in their official
  capacities, GOVERNOR TONY EVERS,
  in his official capacity,

                            Defendants.



                        PLAINTIFF’S OPPOSITION TO
              DEFENDANT GOV. TONY EVERS’ REQUEST TO REASSIGN




    Defendant Gov. Tony Evers has filed a motion to reassign Trump v. Wisconsin Elections

Commission, et al., Case No. 20-CV-1785 to this action under Civil Local Rule 3(b). Plaintiff

William Feehan opposes Defendant Evers’ as follows.

     1) Defendant Evers’ Seeks to Nullify Through Delay Over 1.6 Million Lawful
        Wisconsin Votes and Disenfranchise the Voters Who Cast Them.

    With the College of Electors scheduled to meet December 8, there could never be a clearer

case of “justice delayed is justice denied.”

    Defendant proposes a trivial, wooden application of a simple local rule designed for efficiency

to achieve exactly the opposite of its purpose, turning the rule on its head to deflect and fatally




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delay consideration of the most monumental constitutional rights and issues that will ever come

before this Court, disenfranchising Plaintiff and 1.6 Million lawful Wisconsin voters in the process.

     Defendant’s Motion to reassign is simply a transparent effort to clutter and bog down

Plaintiff’s action with multiple additional parties, procedural issues, and state law matters, the

purpose of which is to consume time, slow-walk Plaintiff’s action, and run out the clock.

     The additional parties and issues are utterly unnecessary and distracting to consideration of

Plaintiff’s Amended Complaint and supporting Memorandum and determination of Plaintiff’s

TRO Motion.

     Defendant Evers’ Motion should be summarily denied and the Court should immediately order

briefing and issue its decision no later than 5 p.m. Sunday evening, December 6 so that Plaintiff

may have even a few hours to prepare for and seek whatever further relief may be then available

in the one day left before the December 8 meeting of electors.

      2) The Pleadings in Case No. 20-CV-1785 Do Not Relate in Any Way to the
         Gravamen of Plaintiff’s Amended Complaint that Plaintiff and Over 1.6
         Million Lawful Wisconsin Voters Were Disenfranchised by Massive Fraud,
         Hacking, Ballot-Stuffing, and Ballot-Changing by Dominion and Other
         Foreign and Domestic Actors Vehemently Antagonistic to the President.

     The issues raised in the President’s action in Case No. 20-CV-1785 reflect federal aspects of

the state law issues raised in his Petition for Original Action just dismissed by the Wisconsin

Supreme Court, Trump v. Evers, 2020 AP 001971-OA.

     While the President’s federal and state claims are obviously related to some of state law issues

and actions of state officials that are included in Plaintiff’s amended complaint, neither pleading

in those cases addresses the central issue of Plaintiff’s action here – foreign and domestic actors

programming, manipulating, hacking, and tampering with election equipment and software to

change votes and “elect” a candidate for which a majority of lawful Wisconsin voters did not cast

their ballots.



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      The detailed technical pleadings and proof alleged by Plaintiff1 are utterly absent in the

 President’s pleadings, which do not relate whatsoever to the gravamen of Plaintiff’s Amended

 Complaint that over 1.6 Million lawful Wisconsin votes were diluted and debased and that that

 Plaintiff and the other voters who cost them were effectively disenfranchised by massive

 electronic fraud, ballot-stuffing, and ballot-changing by Dominion and other foreign and

 domestic actors vehemently antagonistic to the President.

     3) Defendants’ Counsel Did Not Agree to or Propose a Briefing Schedule, so the
        Court Should Immediately Schedule Briefing and Rule on Plaintiff’s TRO
        Motion no later than 5 p.m. Sunday evening, December 6.

     As ordered by the Court December 2, the Parties’ counsel met and conferred today regarding

a briefing schedule. However, Defendants refused to agree to the schedule proposed by Plaintiffs,

and in fact, refused to offer a proposed schedule of their own, stating that they were seeking

reassignment of Case No. 20-CV-1785, which they have now done.

      In fact, when Plaintiff’s raised the issue of a stipulated TRO to preserve electronic and

 physical data, materials, and equipment (voting machines in particular) for inspection by

 Plaintiff’s experts, Defendants asserted that they have no control or influence whatsoever over

 preservation of evidence by local jurisdictions and elections clerks, apparently implying that

 Plaintiff must implead all 1,912 individual municipalities that conduct voting operations in order

 to obtain relief.2




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    See Amended Complaint ¶¶ 6-17 (Dominion), 46-58 (statistical analysis by national experts), 60-99
(factual allegations regarding Dominion), 100-110 (statistical analysis), 131-137 (ballot fraud Dominion
System); and all federal Exhibits 1 - 19.
  2
    Cities, town and villages are individual municipalities charged with administering elections. Secs.
5.02(11), 5.25(2), Stats. According to the Wisconsin League of Municipalities and Wisconsin Dept. of
Health Services, there are approximately 1,912 individual such municipalities.
https://www.lwm-info.org/590/Facts-About-Wisconsin-Municipalities;
https://www.lwm-info.org/590/Facts-About-Wisconsin-Municipalities


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                                         CONCLUSION

    Again, the additional parties, procedural issues and delay proposed by Defendants are utterly

unnecessary to consideration of Plaintiff’s Amended Complaint and supporting Memorandum and

determination of Plaintiff’s TRO Motion, and are designed solely to deny through delay Plaintiff’s

access to the courts and remedies to which he and other lawful Wisconsin voters are entitled.

    Plaintiff therefore requests the Court to summarily deny Defendant Evers’ Motion,

immediately order briefing on Plaintiff’s TRO motion, and issue its decision no later than 5 p.m.

Sunday evening, December 6 so that Plaintiff may have a few hours to prepare for and seek

whatever further relief may be then available in the time left.

      Respectfully submitted, this 3st day of December 2020.


                                              LEAD COUNSEL FOR PLAINTIFF


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**Application for admission forthcoming




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